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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA                    §
                                              §
  v.                                          §       No. 1:22-cr-00015
                                              §       The Hon. Amit P. Mehta
  ELMER STEWART RHODES III                    §

   DEFENDANT’S AMENDED MEMORANDUM IN SUPPORT OF PRE-TRIAL
                         RELEASE

       COME NOW, James Lee Bright and Phillips Linder, Counsel for Elmer Stewart

Rhodes, and move this Court to grant Elmer Stewart Rhodes pre-trial release from custody

while his case is pending in this District. The United States Department of Justice has

moved to detain Elmer Stewart Rhodes pending his trial currently scheduled for July 11,

2022.

        In January of 2022, a federal grand jury returned an indictment charging Stewart

Rhodes with Seditious Conspiracy and other related offenses for allegedly orchestrating a

plot to oppose by force the execution of laws governing the transfer of presidential power

following the 2020 United States Presidential Election, including an alleged attack on the

United States Capitol on January 6, 2021. Rhodes is also charged with allegedly

obstructing justice for destroying evidence related to the alleged plot.

        There is a severe lack of compelling evidence of Rhodes’ leadership of any alleged

conspiracy. For over one year after the events of January 6, 2021, the Government knew of

Rhodes’ location at his residence in North Texas and yet failed to detain him at any time.

During the one year between the incident and the indictment, Rhodes voluntarily met with

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members of the Federal Bureau of Investigation (FBI) on multiple occasions and

voluntarily surrendered his phone along with the required access codes. Rhodes has no

passport, and, due to an overwhelming amount of national publicity in which photos of him

have been widely circulated, is easily identifiable. He is also, as discussed with FBI agents

Palian and Seyler, on a list that requires an interview and DHS notification before he is

allowed to fly.    The Government is also fully aware, based upon Rhodes’ voluntary

interview with the FBI on Mar 3, 2021, that he indicated a willingness to self-surrender in

Washington, D.C. if he were to be charged and/or indicted. For all of the aforementioned

reasons, Rhodes poses no flight risk.

       Despite the Government being fully aware of Rhodes’ presence for the year after the

events of January 6, 2021, in which it neither charged or arrested Rhodes, it is now

attempting to claim that the Defendant poses a threat to the public at-large and that he will

“obstruct or attempt to obstruct justice, or threaten, injure or intimidate, or attempt to

threaten, injure, or intimidate, a prospective witness or juror”.

       To disprove the Government’s theory, Counsel argue that the Defendant has been

living openly and voluntarily communicating with government agents at their request. He

has watched as other members of his organization have been charged and taken into

custody. None of the things that the Government claims he will do have occurred. He has

not obstructed or attempted to obstruct justice. He has not threatened, injured, intimidated

or attempted to do such to any witness or potential juror. If he was the danger or threat that

the Government is falsely attempting to cast him as, he would have been charged and taken

into custody within the days and weeks after the events of January 6, 2021, as many others

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were.

         As to the Government’s claim that “based upon Rhodes’s [alleged] evidence

destruction aimed at hiding his [alleged] crimes and the identities of his [alleged] co-

conspirators” Defendant should be detained, it must be stated that the Government is being

disingenuous to this Court. They are very well aware that the Defendant was under no legal

duty to preserve the “evidence” they are referencing at the time of its alleged destruction.

For all of the above-stated reasons, there is no compelling or legal reason for this Court to

detain the Defendant pending trial. It is neither legally warranted nor necessary.



    I.       Procedural Background

    Rhodes is charged with Seditious Conspiracy, in violation of 18 U.S.C. § 2384;

Conspiracy to Obstruct an Official Proceeding, in violation of 18 U.S.C. § 1512(k);

Obstruction of an Official Proceeding, in violation of 18 U.S.C. § 1512(c)(2); Conspiracy to

Prevent an Officer from Discharging any Duties, in violation of 18 U.S.C. § 372; and

Tampering with Documents or Proceedings, in violation of 18 U.S.C. § 1512(c)(1).

         Upon return of the indictment a U.S. Magistrate Judge for the District of Columbia

issued a warrant for Rhodes’s arrest. Rhodes was arrested on January 13, 2022 in the

Eastern District of Texas, near Dallas, Texas. An initial appearance was held before

Federal Magistrate Judge, Kimberly Priest Johnson in the Eastern District of Texas on

Friday, January 14, 2022. The United States moved for Rhodes’s pretrial detention

pursuant to 18 U.S.C. §§ 3142(f)(1)(E) (case that involves the possession or use of a

firearm, destructive device, or any other dangerous weapon), 3142(f)(2)(A) (case that

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involves a serious risk of flight), and 3142(f)(2)(B) (case that involves a serious risk that

the defendant will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate,

or attempt to threaten, injure, or intimidate, a prospective witness or juror).

       The initial detention hearing was held in the same Court in the Eastern District of

Texas on Monday, January 24, 2022, and Judge Kimberly Priest Johnson ordered Mr.

Rhodes be detained until the trial or upon further Order of the Court. The Motion to

Reconsider is set before this Honorable Court on February 15, 2022.



    II.     Factual Background

       The Government claims Rhodes led a conspiracy to oppose by force the execution

of the laws governing the transfer of presidential power in the United States. However, in

reality, in November 2020, days after the presidential election, Rhodes began contacting

members of the Oath Keepers, an organization mainly comprised of former military, law

enforcement and EMS members to join him in traveling to Washington, D.C. to protect a

rally that had been planned for November 2020. Oath Keepers then protected a Stop the

Steal Rally in Atlanta in November of 2020. After that, Oath Keepers then returned to

Washington, D.C. to protect a Stop the Steal Rally in December 2020. In late December,

Mr. Rhodes was notified by organizers that Oath Keepers were needed to provide

protection in Washington, D.C. for multiple rallies on January 5 and 6, 2021. Previous

conservative rallies across the United States in the months running up to the Presidential

election had been attacked by members of Antifa and Black Lives Matter. The Oath

Keepers had been present for the vast majority of those rallies for the purpose of providing

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defensive assistance to attendees, some of whom were injured and even hospitalized. On

January 5, 2021, protected an event by a Pro-Trump Virginia women’s group in front of the

United States Supreme Court. And on January 6, 2021, the Oath Keepers were tasked with

providing protection for multiple events, one hosted by Ali Alexander on the Northeast

corner of the Capital Grounds in “Area 8”. Oath Keepers were tasked with escorting

Alexander’s speakers, guests and families from President Trump’s rally on the ellipse to

the Capitol Grounds for that permitted event in “Area 8”. Oath Keepers also provided

security on January 6, 2021 for Latinos for Trump and Virginia Freedom Keepers, which

was also a permitted event, approximately two blocks North-Northeast of the Capitol next

to the Senate Office Buildings. Oath Keepers also provided a PSD (Personal Security

Detail) for Roger Stone who was a scheduled speaker at Ali Alexander’s Capitol Grounds

Area 8 event, as well as other events throughout the day.

       The Government claims the purpose of their travel to Washington was “for

operations aimed at stopping the transfer of power with the support of an armed ‘quick

reaction force,’ or ‘QRF.’” The Government, whether through lack of due diligence or through

obfuscation of facts and testimony, has misled this Court by painting the QRF as an offensive

force whose purpose was to prevent the Presidential certification by Congress through armed

action. The QRF is meant to be a defensive force with weapons to be brought into D.C. if and

only if the President of the United States invoked the Insurrection Act and called Oath Keepers

into Federal service as part of the “unorganized militia” to protect the White House and the

President from Antifa violence and to await further orders from the President.

       It is a defensive force, called if and only if required to defend members or those with

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whom they have been charged with protecting. There are an abundance of statements made

through interviews and depositions which directly refute the Government’s contention that the

QRF is assaultive in nature. The QRFs in question were stationed in Arlington, Virginia, more

than 5 miles away from the Capitol grounds. One of which was manned by co-Defendant,

Edward Vallejo, a man in his late 60s, who was overweight and had a myriad of health

issues from a heart condition to back and hip issues, hardly the commando force the

Government is attempting to portray it as.

       The Government, on the other hand, states that Rhodes and other members’

presence in Washington, D.C. was to prevent the peaceful transfer of power. In support of

this false assertion, the Government claims that Rhodes used social media and encrypted

messaging to communicate with and request other members join the Oath Keepers in

Washington; organized and participated in tactical military-style training; and amassed

weaponry and tactical gear, organizing into regional teams to transport these items to the

D.C. area. As previously stated, and easily discerned from the actual facts, all of these

efforts were to prepare for the events of January 6, 2021 in a protective and defensive

manner. The Oath Keepers have provided such services to conservative groups at multiple

rallies all over the country, which necessitated by the aggressive and assaultive nature of

violent left-wing groups such as Antifa.      As the Government is fully aware from its

investigation, the Oath Keepers, in previous protective and security operations, had staged

QRFs in the exact same manner as they were on January 6, 2021. The Government is

disingenuous in its attempts to portray the QRFs on January 6 to this Court as an invasion

force when it knows of the existence of previous QRFs that were never used in that manner.

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       It should be stated, and also emphasized that the Government tellingly omitted, that

communicating through social media and/or encrypted messaging services is not illegal.

Purchasing legal weapons through legal channels by persons who are not prohibited from

owing those weapons is not illegal. Coordinating with people in different parts of the country

to meet at a specific time and place is not illegal. Being a member of a militia-type group and

engaging in military-type training is not illegal. While the Government is attempting to paint

the Defendant as a dissident attempting to overthrow the Government, the communications

the Government references specifically discuss D.C. firearm laws and the prohibitions

attached to them. Weapons were not illegally brought into the district, as they easily could

have been if the intent was as nefarious as the Government would have the Court believe.

       In December 2020, after the Electoral College cast ballots confirming Joseph Biden

as the President-Elect, the Government claims Rhodes’ plan focused on delaying or stopping

Congress’s Certification of the Electoral College vote (“Certification proceeding”). The

Government further claims, “Rhodes’ plan materialized on January 6, 2021, the day of the

Certification proceeding, when he oversaw two military-style stacks of [alleged] co-

conspirators who, along with other rioters, forcibly breached the Capitol while armed QRF

teams stood by, awaiting deployment”. Again, the Government is at best misconstruing

and at worst fully omitting facts.       The “military-style stacks”, labeled such by the

Government not by the Oath Keepers, were two groups of former military, law

enforcement and EMS members who were completely unarmed. Several members did

enter the Capitol building, but there is no evidence whatsoever that the Defendant

instructed them to do so, because he did not.

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        According to at least one person present that day, who is not a member of the Oath

Keepers, those “stacks” entered the Capitol on their own accord after receiving word that

Ashli Babbitt had been shot, others were injured and there was a need for medical

assistance within the building. Of course, when they entered, they were in a formation that

is used in personal security details (PSDs). They had been trained to use that formation for

PSDs to move through a crowd and had done so at previous Stop the Steal Rallies in

Washington, D.C. in November 2020, Atlanta in November 2020 and Washington, D.C. in

December 2020.       They were composed of ex-military, law enforcement and EMS

personnel. Their training teaches them the best ways to enter an unknown and/or hostile

situation. The Government seems surprised by this, but to those who have taken the time

to learn the stated goals and mission of the Oath Keepers and its members, it is quite

logical. The Government has also failed to disclose to this Court that at least one of those

“stacks” provided security and escort to overwhelmed Capitol police officers and assisted

them in escaping that immediate threat and danger. Further, the Government has received,

and should acknowledge, specific testimony as to such, which is accompanied by

photographic and video evidence. These facts explicitly negate the Government’s false

assertions as to the actual purpose of what the FBI has labeled as “stacks,” as these teams

were created and implemented to provide security for various political rallies on January 6,

2021.

        At least one of the “stacks” exited the building a short time later with a group of

Capitol Police officers, and the two groups were interacting in a cordial and social manner,

not quite the armed insurrectionists the Government has continually attempted to paint

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them as. It is unclear if this is the “stack” that assisted and protected Capitol police

officers while inside the Capitol. As well, neither “stack” was an armed QRF, which the

Government insists on mischaracterizing as an offensive force and seems obsessed with,

even though they played no role in the events of January 6, 2021 in any way whatsoever.

       The “stacks” that entered the Capitol did so on their own accord, though the

Government would like to cast the blame on Rhodes. In fact, when Rhodes was alerted

after-the-fact that some members had entered the Capitol, his response to those around him

was to tell those members to leave the Capitol grounds and move towards the Supreme

Court. As the myriad of videos of that day show, the breaches to the Capitol were

committed by protestors that had amassed outside, not at the behest or order of anyone,

including Rhodes. This has been corroborated by FBI Agent Palian’s sworn testimony at

Rhodes’ initial detention hearing on January 24, 2022.

       While the Government is correct that the breach by the massive mob succeeded in

delaying the Certification proceeding for several hours, its assertion that “Rhodes and

[alleged] co-conspirators then fled from the Washington area when they learned the FBI

had begun arresting individuals involved in the attack” is wholly inaccurate. As the

Capitol was cleared and the crowds began to dissipate, Rhodes and other members met at

the Northeast corner of the Capitol grounds and then moved to the street in front of the

Supreme Court, with Rhodes ultimately returning to Virginia and going to dinner at Olive

Garden with other members of the Oath Keepers but not the Florida team that entered the

Capitol, lead by Kelly Meggs. In what reality can the Government honestly paint this as

people fleeing and concerned with arrest? This was not some hasty retreat in fear of

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being detained. Rhodes had no reason to flee or to fear arrest. He had committed no

crime.

         The Government states that “in the weeks that followed, Rhodes and his [alleged]

co-conspirators continued to make plans to stop the presidential power transfer, amass

additional weaponry and tactical gear, and prepare themselves to deploy their arms, if

necessary, to stop the inauguration of a new president”. Again, the Government omits

vital information that it is aware of but, for reasons unknown to Defendant and his

Counsel, is not presenting such to the Court.

         First, it has been documented through interviews and depositions with Rhodes and

others that there was a belief that President Donald Trump would invoke the Insurrection

Act, necessitating a need for militias and other groups to defend that declaration. When

that invocation did not come, Rhodes took no action, before or after, that could be

considered seditious by any rational observer.

         Second, when that invocation did not come by January 20, 2021, the Defendant

ceased all preparation and communication for it. Rhodes is a decorated former member of

the United States military. He has taken his vow to defend the United States and obey the

orders of the President as a lifelong commitment. In fact, this is the very basis of the Oath

Keepers foundation. When he believed that the President would issue an order invoking

the Insurrection Act, he was prepared to follow it. When that invocation did not come, he

did precisely nothing. The Government would like this Court to believe that is sedition,

when in fact, it is the opposite. It is loyalty to an oath taken in defense of the Country. If

the Defendant had intended to instigate and coordinate an attack against the United States
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Government, he would have done so. He did not, and the Government’s attempts to twist

the facts to say that he did are easily disproven.

                                    A. The Oath Keepers

         The Government is correct in one aspect with regard to the group called the Oath

Keepers. The Oath Keepers are a non-partisan association of current and formerly serving

military, police, and first responders who pledge to fulfill the oath all military and police

take to defend the Constitution against all enemies, foreign and domestic. The Group was

founded by Elmer Stewart Rhodes in 2009. Rhodes is United States Army veteran, a Yale

Law School graduate, and a former member of United States Congressman Ron Paul’s

staff.

         As is common in today’s society, there is a portion of the population that seeks to

label certain political groups with nonsensical pejoratives simply because they have policy

differences. The group has been falsely maligned by the mainstream media, left-wing

organizations and even members of the Federal Government as white supremacists, racists,

and sexists.

         The Oath Keepers, of course, are none of the things with which they are defamed,

and there is no evidence to the contrary. In fact, it is prominently noted on the Oath

Keepers website: “Oath Keepers come in all colors, shapes, sizes, ages, and backgrounds

with one common bond – the oath to defend the Constitution. If you take your oath

seriously, and believe in defending the Constitution against ALL enemies, foreign and

domestic, and of whatever political party (there are oath breakers galore in both major

parties), and if you stand for the rights of all Americans, at all times, then you are one of

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us. Join us. We need your help to preserve liberty for our children and grand-children,

and for all Americans.”

       In recent years, the Oath Keepers have been present at multiple political rallies to

provide security for speakers and attendees in the event agitators attempt to disrupt those

rallies, as was the case January 6, 2021, per testimony that has been given to the

Government by multiple witnesses under oath. They have also been present to provide

security and protection for businesses at some of the “social justice” riots that broke out

across the country in 2019 and 2020.

       Despite the attempts to portray the Oath Keepers as an offensive paramilitary group

intent on overthrowing the American Government, the facts show that these

characterizations are untrue, unfounded and almost always stem from those who simply

disagree with their stated mission. It is also important to note that the Oath Keepers have

been present at many events since its inception, and until the Government decided that the

Oath Keepers were the perfect scapegoat for the events of January 6, 2021, they have

never been charged with a crime for the protection and security that they provided over the

entirety of their existence since their founding.



   B. Rhodes Did Not Plan to Forcibly Oppose the Lawful Transfer of Presidential
                                      Power

       The Government states in its Memorandum in Support of Motion for Detention

that “in November 2020, days after the election, Rhodes began disseminating messages to

Oath Keepers members and affiliates delegitimizing the results of the election and

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encouraging members and affiliates of his organization to forcibly oppose the lawful

transfer of presidential power. See Indictment at ¶¶ 18(a) (telling those on the ‘Leadership

intel sharing secured’ chat (hereafter “Leadership Intel chat”), on November 5, 2020, that

they ‘MUST refuse to accept Biden as a legitimate winner’ and warning, ‘We aren’t

getting through this without a civil war. Too late for that. Prepare your mind, body,

spirit.’); 18(b) (posting to the Oath Keepers’ website a plan that included ‘[m]illions

gather[ing] in our capital,’ breaking through barricades, and storming the legislature).”

      Two important facts must be stated in response to the Government’s allegations.

First, believing that the current political environment will lead to a civil war is protected

speech under the First Amendment to the Constitution, and is far different than attempting

or planning to effectuate such. On February 7, 2022, United States Representative, Adam

Kinzinger, stated on CNN that he believes the country could be headed for a Civil War.

While not likely in the eyes of most, that some verbalize the idea as a real possibility is

hardly unique to Rhodes.

       Second, questioning the legitimacy of a Presidential election is not a novel concept

either. In 2000, the Democratic National Committee Chair, Terry McAuliffe, stated that

the election was stolen and that SCOTUS had “tampered” with the results; on September

18, 2017, Hillary Clinton called President Trump an “illegitimate President”; in a tweet

from May 2017, Rep. Nancy Pelosi wrote, “Our election was hijacked. No question”; to

date, Stacey Abrams, who is currently running for Governor of Georgia, has yet to

concede she lost the previous Georgia Gubernatorial race; and in June of 2018, United

States Representative. Maxine Waters encouraged violence against Trump cabinet

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members saying, “If you see anyone from that Cabinet in a restaurant, in a department

store, at a gasoline station, you get out and create a crowd and you push back on them and

you tell them they’re not welcome anymore, anywhere.” There are many more examples.

As of the time of this filing, the Department of Justice has declined to file charges against

any of these people. Bombastic language might not be popular to those who do not hold

the First Amendment dear, but there is a very specific reason why freedom of speech is

included and protected in the First Amendment to the Constitution. The Government is

attempting to convince this Court that unpopular or bombastic language is a crime. It is

not.

       The Government further states that, “at Rhodes’ direction, regional leaders of the

Oath Keepers then began recruiting others to the [alleged] conspiracy, Indictment at ¶ 20,

and preparing for operations inside Washington, D.C., Indictment at ¶ 21. Those plans

included organizing armed QRF teams to support those on the ground. Indictment at ¶¶

42-45.” It should be noted that the Government is fully aware, as previously stated in this

brief, that on two previous occasions QRFs were established outside of Washington, D.C.

for the exact purpose as they were on January 6, 2021, defensive purposes if the President

invoked the Insurrection Act.

       As has been previously stated, QRF forces are defensive forces. They are not

offensive forces. The QRF in question was not in D.C. proper, thus there was a conscious

decision to keep the weapons in a legal area to be called upon only in the event of

necessity, again, only in the event President Trump invoked the Insurrection Act. In

November 2020 in an online meeting between Oath Keeper leaders, of which the

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Government has a recording and transcript, there was extensive discussion regarding the

District of Columbia firearm laws. The Oath Keepers were very conscious about NOT

bringing firearms to the Capitol as they did not want to violate any firearm restrictions

while in the District of Columbia. In fact, they were meticulous about following the law

of the District of Columbia regarding the carrying of weapons. The Government would

honestly attest that Mr. Rhodes specifically instructs the meetings’ attendees that he will

not be carrying a firearm and instructs others not to carry a firearm as well, as it would be

a felony to do so. The Government has this information, but once again has refrained from

providing it to the Court.

       In December 2020, Rhodes and other Oath Keepers agreed to assemble in

Washington, D.C. on the day of the Certification proceeding, January 6, 2021. On

December 22 Rhodes described January 6 as “a hard constitutional deadline” for stopping

the transfer of presidential power and warned that if President-Elect Biden were to assume

the presidency, “We will have to do a bloody, massively bloody revolution against them.”

Indictment at ¶ 30. This goes back to the belief that President Trump would invoke the

Insurrection Act, at which point there would be a need for those to assist in the

enforcement of that order. And in the absence of that order, it was Rhodes’ belief that the

American people would not stand for the peaceful transfer of power. And to some extent

he was correct, as many people did indeed breach the Capitol in an attempt to stop the

peaceful transfer of power. However, Rhodes’ was not one of them. He was only

prepared to take action if the Commander-in-Chief, the person to whom he swore an oath,

issued an order for him to do so. That order did not come. Rhodes did not act.

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       The Government alleges that on December 23, 2020, Rhodes published an open

letter on the Oath Keepers website in which he noted that, on January 6, 2021, “tens of

thousands of patriot Americans, both veterans and non-veterans, will already be in

Washington D.C., and many of us will have our mission-critical gear stowed nearby just

outside D.C.” Indictment at ¶ 31. Rhodes warned in the open letter that he and others may

have to “take to arms in defense of our God given liberty.” Id. The optimal word here is

“may”. At this point, the Government is attempting criminalize preparation for an event

that may occur upon the invocation of the Insurrection Act by the Commander-in-Chief.

        As previously mentioned, Rhodes stated in interviews with the FBI, and other Oath

Keepers and those familiar with the organization have also stated, there was a belief

amongst them that President Trump was going to invoke the Insurrection Act, at which

point groups like the Oath Keepers would be needed to help enforce the invocation.

Rhodes was correct that tens of thousands showed up in Washington; he was incorrect

that President Trump would invoke the Insurrection Act; and he was incorrect that it

would be necessary to take up arms. Simply stating those beliefs are, again, protected by

the First Amendment and are certainly not Seditious Conspiracy.

       The Government states that Rhodes “created and administered Signal chats with

titles like ‘DC OP: Jan 6 21’ and ‘OK FL DC OP Jan 6’ for coordinating their plans for

January 6. Indictment at ¶¶ 38-40. On these chats, they discussed, among other topics,

what weapons they would bring and plans for the QRF. Id. at ¶ 41-56, 58-60. They utilized

encrypted messaging applications for these planning chats and stressed the need for

operational security. See, e.g., id. at ¶ 27. Rhodes offered to reimburse [alleged] co-

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conspirators for expenses incurred in support of the operation for things like hotels, radios,

and making/copying maps. On these chats and others, Rhodes repeatedly primed his

[alleged] co-conspirators to prepare themselves to use violence to stop the “usurpers” (as

he regularly referred to the incoming president and vice president) from taking control. On

December 31, a week before the Capitol attack, Rhodes wrote to the Leadership Intel Chat,

‘There is no standard political or legal way out of this.’”

       There is a lot to unpack in this paragraph of the Government’s brief. First, the

Government seems convinced that former military and law enforcement members using

military and law enforcement lingo is somehow indicative of nefarious activity. They are

ex-military. It is quite natural for them to use such language. Second, the history of the

events where Oath Keepers were present are littered with violent acts, not committed by

the Oath Keepers, but by those groups who oppose the beliefs espoused by attendees of

those events. For example, at the November 2020 “Stop the Steal” rally in Washington,

D.C., members of both Antifa and Black Lives Matter attacked attendees, sending some to

the hospital. At the riots in Ferguson, Missouri in 2014, the same groups were attacking

not only random citizens but businesses as well, prompting a need for protection. Many

times, the violence these groups displayed required arms to dissuade the rioters from their

assaultive and destructive actions. It again should be stated that possession of firearms,

while unpopular to some, is a Constitutional right; none of those in possession of firearms

were ever legally prohibited from doing so; none of the weapons were illegal weapons;

and no state or federal laws were broken by their possession. However, to read the

Government’s brief, it would have you believe that the Oath Keepers were the Branch

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Davidians. This is simply false. Finally, the Government states that Rhodes used the term

“usurpers” to refer to the incoming President and Vice-President and said that they must

be prepared to use violence. As previously stated, Rhodes was referring to his belief that

President Trump would invoke the Insurrection Act and that it would likely require action

to defend that invocation. The Government is fully aware that there are many members

and witnesses who have corroborated this fact, but yet again, it has failed to disclose this

to the Court as its narrative falls apart if this overarching reality were to be fully discussed.

As to the use of “usurpers”, the First Amendment allows Rhodes to refer to the President

in any term he chooses. A quick Google search will show that Presidents Obama and

Trump were called much worse.



 C. The Armed QRF Force is a Well-Documented Response Force, Not an Offensive
                                    Force


       As described in greater detail in the indictment, but significantly exaggerated,

“Rhodes and his [alleged] co-conspirators coordinated at least three regional QRF teams to

support the January 6 operation, and these teams were stationed at a Comfort Inn in

Arlington, Virginia. Indictment at ¶¶ 45-49. The QRF teams guarded an arsenal of

firearms and related equipment and were prepared to speed those weapons into the hands

of [alleged] co-conspirators on the ground in Washington whendirected by Rhodes or other

conspiracy leaders. Id.”

       The indictment further alleges, but again exaggerates, that “on January 3, Rhodes

informed an [alleged] co-conspirator on Signal, ‘We WILL have a QRF. This situation calls


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for it.’ Indictment at ¶ 50. In the following days, [alleged] co-conspirators communicated

and implemented plans to bring weapons to the Comfort Inn. Id. at ¶¶ 58-59, 63-65, 68-69.

The day before the Capitol attack, on January 5, Meggs and his Florida team dropped off at

least three luggage carts worth of gun boxes, rifle cases, and suitcases filled with

ammunition with their QRF team. Members of the Arizona QRF team wheeled in bags and

large bins of weapons, ammunition, and essential supplies to last 30 days. A third QRF

team from North Carolina consisted of four men who kept their rifles ready to go in a

vehicle parked in the hotel lot. Throughout, the QRF team leaders updated Rhodes of the

extent of their weapons stock and apprised him of their readiness to support the

Washington-based operation on January 6. On January 5, for example, Meggs messaged

Rhodes from near the Comfort Inn, ‘[W]e are just outside of town unloading at QRF on

our way in.’ Indictment at ¶ 65.” Again, while the basic facts are true, the Government

fails to reveal, again, to the Court the true known purpose of the QRFs based upon

testimony and evidence.

       The indictment further states that “on January 6, the day of the attack, before

departing from his hotel for Washington, Rhodes messaged his [alleged] co-conspirators,

‘We will have several well-equipped QRFs outside DC. And there are many, many others,

from other groups, who will be watching and waiting on the outside in case of worst-case

scenarios.’ Indictment at ¶ 70. During the attack, the QRF remained in communication

with Rhodes. For example: at 2:24 p.m., co-conspirator Edward Vallejo messaged the ‘DC

OP: Jan 6 21’ chat, ‘Vallejo back at hotel and outfitted. Have 2 trucks available. Let me

know how I can assist.’ Id. at ¶¶ 86. At 2:38 p.m., Vallejo messaged the chat, ‘QRF

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standing by at hotel. Just say the word…’ Id. at ¶ 96.” Again, it should be noted that there

was no response to Vallejo’s messages.        The QRFs were never called, very simply,

because President Trump never invoked the Insurrection Act.

       In addition, the indictment provides that “in the days leading up to January 6, Rhodes

himself purchased firearms- related equipment to contribute to the operation. On January 1

and 2, while still in Texas, where Rhodes was residing at the time, he spent approximately

$5,000 on firearms and related equipment, including a shotgun, scope, magazines, sights,

optics, a bipod, a mount, a case of ammunition, and gun-cleaning supplies. Indictment at ¶

47. On January 3, Rhodes departed Texas and began traveling to the Washington, D.C.,

metropolitan area. While traveling, Rhodes spent approximately $6,000 in Texas on an

AR-platform rifle and firearms equipment, including sights, mounts, triggers, slings, and

additional firearms attachments. Id. at ¶ 57. On January 4, while still traveling toward the

Washington, D.C., metropolitan area, Rhodes spent approximately $4,500 in Mississippi

on firearms equipment, including sights, mounts, an optic plate, a magazine, and various

firearms parts. Id. at ¶¶ 61.”

       The Government has provided a myriad of facts regarding the QRF. It is also clear

that the Government believes that the purpose of the QRF was an offensive force meant to

come into D.C., guns blazing, and take over the Federal Government, though there is

ample evidence and testimony to disprove the theory. The simple question in response to

this allegation by the Government is why didn’t they? The Government’s entire theory

lies in the idea that the Oath Keepers, at Rhodes’ behest, conspired to overthrow the

Government. If that was the Oath Keepers intent, it is hard to imagine a better scenario for

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them to effectuate that plan. For the first time in two-hundred and nine years, the Capitol

was breached. Hundreds of people, on their own volition, stormed the Capitol and forced

their way inside. The Capitol police were in disarray. Rhodes received messages from the

Edward Vallejo, one of the people who was overseeing the QRFs. The two others that

were allegedly another QRF left Virginia and went into D.C. without any weapons.

Rhodes had ample opportunity to order the weapons into D.C. to be distributed amongst

the Oath Keepers who could have then stormed the Capitol and fomented the revolution

that the Government has continually claimed they wanted. And he did precisely nothing.

Why? The conditions would never be better. Yet, Rhodes and the others left the Capitol

grounds and went to Olive Garden for dinner. The answer is quite simple: because

stopping the certification, overthrowing the government, was not Rhodes’ intent. It was

not the Oath Keepers intent. The allegations the Government is levying against Rhodes

are simply false. It seems impossible for the Government to believe that citizens, on their

own, would be so emotionally charged that they could breach the Capitol without someone

ordering them to do so, without direction, without a boogeyman. And yet, that is exactly

what happened. But, instead of accepting the reality for what it is, the Government has

twisted the facts to make that boogeyman out of someone who, though his ideas may not

be mainstream or popular, fits the mold of who it thinks that boogeyman should be.



  D. Rhodes Did Not Attack the Capitol and There Was No Plot to Stop the Lawful
                                Transfer of Power

       As stated in the indictment, on “January 6, as a large crowd gathered on the Capitol

grounds and converged on the building, an Oath Keeper affiliate on the Leadership Intel
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Chat claimed that Antifa had breached the Capitol. Indictment at ¶ 77. Rhodes replied:

’Nope. I’m right here. These are Patriots.’ Id. He elaborated on a different chat: ‘Pence is

doing nothing. As I predicted… All I see Trump doing is complaining. I see no intent by

him to do anything.     So, the patriots are taking it into their own hands. They’ve had

enough.’ Id. Meanwhile, on yet another encrypted, invitation-only group chat titled ‘Jan

5/6 DC Op Intel team,’ which included Rhodes, co-conspirator Joshua James, and others, a

participant posted a link to a video titled ‘live stream of patriots storming capital,’ and

another participant asked, ‘Are they actually Patriots - not those who were going to go in

disguise as Patriots and cause trouble[?]’ Id. at 79. Rhodes responded, ‘Actual Patriots.

Pissed off patriots[.] Like the Sons of Liberty were pissed off patriots[.]’ Id. James

followed with, ‘Were coming to Capitol ETA 30 MIN[.]’ James and his group (including

[alleged] co-conspirators Roberto Minuta and Brian Ulrich) then headed toward the

Capitol. Id.’

       As stated in the previous section, it is worth noting that these members left a QRF

but did not bring any weapons with them. The Capitol had been breached. There would

never be a better time for Rhodes to have the weapons delivered to the Capitol grounds so

they could storm the Capitol, and yet the group that assembled on the Capitol grounds then

left to have dinner at Olive Garden. Why? They were not there to storm the Capitol, to

stop the certification, to takeover the Government. They were waiting for President

Trump to invoke the Insurrection Act. He did not, so Rhodes and the others did nothing.

They were there for voluntary security and protective services of which the Government is

fully aware, per the evidence in its possession.       This is substantial proof that the

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Government’s accusations against Rhodes are simply false.

       The indictment also provides that “at around 2:30 p.m., Rhodes explicitly directed

his [alleged] co-conspirators to go to the Capitol. Indictment at ¶¶ 88-89. Rhodes then

spoke with Meggs. Id. at ¶ 92. Moments later, Stack One marched up the east steps of the

Capitol, joined the mob that was trying toforce the doors open, and breached the building.

Id. at ¶¶ 93-95, 97-99. Stack One tried to force past riot police to the Senate Chamber,

but were rebuffed, and the other half went in search of Speaker of the House Nancy Pelosi,

but did not find her. Id. at ¶¶ 100-106. Meanwhile, Stack Two, led by James and Minuta,

[who, this Court should note, have both been released pending trial,] arrived at the Capitol

grounds shortly after 2:30 p.m. Id. at ¶ 111. Stack Two then penetrated the Capitol

grounds, marched to the east side doors through which Stack One had entered, and

breached the Capitol at approximately 3:15 p.m. Id. at ¶¶ 113-118. Allegedly, members of

Stack Two attempted to force their way into the Rotunda but were expelled by riot police

officers who had begun clearing the building. Id. at ¶¶ 119-121. After they exited the

Capitol, members of both Stack One and Stack Two met up with Rhodes and other Oath

Keeper members and affiliates just outside the Capitol. Id. at ¶ 124.” At that point, the

group left the grounds and went to dinner at an Olive Garden Restaurant.

       The preceding has been addressed as well. The “stacks” that entered the Capitol

did so on their own accord, though the Government would like to cast the blame on

Rhodes. There is no evidence that Rhodes ordered anyone to enter the Capitol. In fact,

when Rhodes was alerted to the fact that some members had entered the Capitol, his

response to those around him was to tell those members to leave the Capitol immediately

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and congregate on the Southeast Lawn of the Capitol grounds. This has been corroborated

by FBI Agent Palian’s sworn testimony at Rhodes’ initial detention hearing on January 24,

2022. It has also been corroborated that the “stacks” entered only after learning of the

shooting of Ashli Babbitt and that there were people in need of medical attention within

the Capitol building.



 E. After January 6, Rhodes Did Not Continue Efforts to Forcibly Oppose the Lawful
                          Transition of Presidential Power


        As stated in the indictment, “on the evening of January 6, Rhodes gathered some of

his [alleged] co-conspirators at a restaurant in Vienna, Virginia, to celebrate their attack on

the Capitol and discuss next steps. Indictment at ¶ 125. Rhodes also sent messages to the

‘DC OP: Jan 6 21’ Signal chat, including: ‘Thousands of ticked off patriots spontaneously

marched on the Capitol… You ain’t seen nothing yet,’ and, ‘Patriots entering their own

Capitol to send a message to the traitors is NOTHING compared to what’s coming.’ Id. at

126.”

        “To celebrate their attack on the Capitol.” This is patently false. Rhodes did not

attack the Capitol, and the Government knows it.          Thousands of individuals, wholly

unrelated to the Oath Keepers in any way, spontaneously engaged in the protests which

developed into the breach of the Capitol.        The Government has allowed emotion to

overtake reality.

        The indictment further states that “in the weeks after January 6, Rhodes purchased a

large volume of firearms pieces and related equipment.

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        • On January 10, he spent approximately $6,000 on sights, bipods, a scope,
          mounts, backpacks, a gun grip, a magazine pouch, and other related items.

        • On January 11, he spent over $1,500 on scopes, magazines, and other items.

        • On January 12, he spent nearly $7,000 on hundreds of rounds of ammunition,
          duffel bags, magazines, rifle scopes, a scope mount, a gun light, and other items.

        • On January 13, he spent approximately $1,000 on firearms parts.

        • From January 14 through January 19, he spent more than $2,000 on firearms
          parts, mounts, magazines, a scope leveler, targets, ammunition, a gun case,
          holsters, and gun-maintenance equipment, among other items.

       •
Indictment at ¶ 129. In total, during the two-week period from the January 6 attack to the

Inauguration, Rhodes spent more than $17,000 on firearms-related equipment.”

       While purchasing weapons might cause some people great consternation, the simple

fact is that the Second Amendment of the United States Constitution bestows an individual

right upon American citizens to own firearms. That right has been reaffirmed by the

United States Supreme Court. And while some may not like the fact that it is a right, it is.

What the Government has not done in its thorough recitation of the firearm purchases the

Rhodes made on the dates listed above, they have not shown that those weapons have been

used for any illegal activity. This appears to be nothing more than a scare tactic to illicit a

prescribed response from either the Court and/or the public at-large. The fact remains,

however, that the Government has not alleged any illegal activity with those weapons.

Further, it is impossible to dismiss the fact that firearms are viewed differently in different

parts of the country. While someone in New York City might find it odd for a person to

spend thousands of dollars on firearms, in the State of Texas it is practically obligatory.



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                  E. Rhodes Did Not Conceal Evidence of a Conspiracy


       The Government alleges Rhodes also took steps to destroy evidence of his

involvement in this conspiracy, stating “when Rhodes’s cellular telephone was seized and

searched pursuant to a warrant in May 2021, it revealed evidence that statements by Rhodes

at key times on planning/coordination Signal chats had been deleted.” It should be noted

that the Defendant was asked for his phone and voluntarily turned it over to investigators

along with the access codes. The Government goes on to say that “messages sent by

Rhodes in late January, shortly after the first [alleged] co-conspirators in this matter were

arrested, show Rhodes was aware that messages from the Signal chat could be used

against the [alleged] co-conspirators. For example, on January 24, Rhodes messaged

Vallejo on Signal, ‘Ed, keep in mind that is NOT a secure chat. Contains at least one

turn-coat snitch. Keep that in mind. Please confirm you got this.’ Later that day, Rhodes

messaged Vallejo again, ‘FBI has Jessica’s [Watkins] phone. So they are no doubt now

monitoring any chat she was in. Which included that DC op chat.’ Additionally, in the

weeks after January 6, an associate of Rhodes’s, with whom Rhodes may have been

living at the time, encouraged [ alleged] co-conspirators to delete incriminating

messages from their phones. The investigation has revealed that numerous [alleged] co-

conspirators deleted evidence from their phones in the weeks after January 6.”

       It should be noted that the person referenced giving this advice was actually prior

legal counsel. Said counsel was of the legal opinion that the members of Oath Keepers
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had no duty to preserve anything, including Rhodes, since he had not been arrested,

charged or indicted for any offenses relating to the events of January 6, 2021, nor was he

under investigation for events from the same.



    III.    Argument

       Pursuant to 18 U.S.C. § 3142(a), when a defendant is arrested, the Court, in relevant

part, “shall issue an order that, pending trial, the person be (1) released on personal

recognizance…; (2) released on a condition or a combination of conditions…; or (4)

detained under subsection (e).” Detaining a defendant under Section 3142(e) requires a

hearing “pursuant to the provisions of subsection (f).” Id. at § 3142(e). If taken as true,

the Government would have this Court believe that the “evidence” outlined above makes it

plain that Rhodes should be detained pending trial.



                      A. Bases for Government’s Detention Request

       “According to Section 3142(f), there are limited circumstances in which the Court

‘shall hold a hearing to determine whether any condition or combination of conditions…

will reasonably assure the appearance of such person as required and the safety of any other

person and the community.’ 18 U.S.C. § 3142(f); see also United States v. Twine, 344 F.3d

987, 987 (9th Cir. 2003). Here, the Government alleges that three of those circumstances

apply: Subsection (f)(1)(E) (case that involves the possession or use of a firearm,

destructive device, or any other dangerous weapon), Subsection (f)(2)(A) (case that

involves a serious risk of flight), and Subsection (f)(2)(B) (case that involves a serious risk
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that the defendant will obstruct or attempt to obstruct justice, or threaten, injure, or

intimidate, or attempt to threaten, injure, or intimidate, a prospective witness or juror. The

Government believes that all three bases for a detention hearing are supported by the

evidence outlined above.” However, they are wrong.

       The Government contends that “first, this case involves the possession and use of

firearms. Section 3142(f)(1)(E) mandates a detention hearing in connection with ‘any

felony’ if the Government proves by a preponderance of the evidence that the charged

felony ‘involves the possession or use of a firearm or destructive device[.]’ In determining

whether the charged felony ‘involves the possession or use of a firearm,’ ‘we may consider

the actual conduct at issue in the specific case,’ and not just whether the elements of the

charged offenses required the possession or use of a firearm. United States v. Watkins, 940

F.3d 152, 166 (2d Cir. 2019). Here, the Government alleges a conspiracy involved the

planning and coordination of QRF teams armed with an arsenal of firearms that would be

brought to [alleged] co-conspirators on the ground at the direction of Rhodes or other

leaders of the conspiracy. Accordingly, the Government wants this Court to believe that

this case involves the possession and use of firearms, and, therefore, Section 3142(f)(1)(E)

is an appropriate basis for a detention hearing.”

       Second, “the Government suggests this case also involves a serious risk of flight

as defined in 18 U.S.C. § 3142(f)(2)(A). The defendant is facing potential conviction on

numerous felony offenses that each carry statutory maximum penalties of up to twenty

years of incarceration. He is [alleged] to have organized a conspiracy to oppose the lawful

transfer of presidential power by force, and thus his willingness to comply with conditions

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of release set by this government is in doubt. Additionally, the defendant lacks a

permanent address. He is estranged from his legal wife and moved out of his permanent

residence in Montana at some point in mid-2020. While he has resided primarily with the

associate discussed above since the attack on the Capitol, there have been many periods

where he has left that residence for several days or several weeks at a time to stay with

other associates. The defendant has his bank statements and similar mail sent to P.O.

boxes. Finally, the defendant has associates located throughout the United States, and he is

known to possess many firearms and related equipment. These factors all combine to give

Rhodes the incentive and means to flee and attempt to evade prosecution.”

       Finally, “the Government attempts to claim this case also involves a risk of tampering

with witnesses and evidence. As described above, Rhodes stands charged with one count

of tampering with documents or proceedings, in violation of 18 U.S.C. § 1512(c)(1), for

deleting Signal messages on key chats at key times from his cellular telephone.

Additionally, shortly after the attack on the Capitol, Rhodes’s associate discussed above,

with whom Rhodes is very close and with whom Rhodes may have been living at the time,

messaged [alleged] co-conspirators on the Leadership Intel Chat and told them to delete

incriminating messages from their phones. The Government suggests there is a significant

risk that Rhodes would seek to tamper with key witnesses or evidence as these are identified

for him through the discovery process.”

       The Government claims that “under any of the above-referenced bases—firearms,

flight, and tampering - a detention hearing is warranted. And together, those three features

illustrate the need to detain Rhodes pending trial to protect the community, ensure his

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return to court, and safeguard the integrity of evidence and the proceedings.”



                  B. United States v. Byrd, 969 F.2d 106 (5th Cir. 1992)

       Section 3142(f) provides that upon motion of the attorney for the Government, in a

case that involves (A) a crime of violence; (B) an offense for which the maximum sentence

is life imprisonment or death; (C) an offense for which a maximum term of imprisonment

of ten years or more is prescribed in the Controlled Substances Act, the Controlled

Substances Import and Export Act, or the Maritime Drug Enforcement Act; or any felony if

the person has been convicted of two or more offenses described in subparagraphs (A)

through (C) of this paragraph, or two or more State or local offenses that would have been

defenses described in subparagraphs (A) through (C) of this paragraph if a circumstance

giving rise to Federal Jurisdiction had existed, or a combination of such offenses; or (2)

Upon motion of the attorney for the Government (A) a serious risk that the person will flee;

or (B) a serious risk that the person will obstruct or attempt to obstruct justice, or threaten,

injure, or intimidate, or attempt to threaten, inure, or intimidate, a prospective witness or

juror. In other words, § 3142(f) does not authorize a detention hearing whenever the

government thinks detention would be desirable, but rather limits such hearings to the [six

circumstances listed in (f)(1)(A), (f)(1)(B), (f)(1)(C), (f)(1)(D), (f)(2)(A) and (f)(2)(b) ].

Byrd at 109.

       Further, A hearing can be held only if one of the six circumstances listed in (f)(1)

and (2) is present; detention can be ordered only after a hearing is held pursuant to §

3142(f). Detention can be ordered, therefore, only “in a case that involves” one of the six

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circumstances listed in (f), and in which the judicial officer finds, after a hearing, that no

condition or combination of conditions will reasonably assure the appearance of the person

as required and the safety of any other person and the community. The First and the Third

Circuits have both interpreted the Act to limit detention to cases that involve one of the six

circumstances listed in (f). See Ploof, 851 F.2d at 11; United States v. Himler, 797 F.2d 156,

160 (3rd Cir.1986). Both Circuits held that a person's threat to the safety of any other

person or the community, in the absence of one of the six specified circumstances, could

not justify detention under the Act. There can be no doubt that this Act clearly favors

nondetention. Id.

       Finally, the Fifth Circuit agreed with both the First and Third Circuits that even after

a hearing, detention can be ordered only in certain designated and limited circumstances,

irrespective of whether the defendant's release may jeopardize public safety. Nevertheless,

we find ourselves in agreement with the First and Third Circuits: a defendant's threat to the

safety of other persons or to the community, standing alone, will not justify pre-trial

detention. Byrd at 110. A defendant who clearly may pose a danger to society cannot be

detained on that basis alone. In such instances, the Act requires that society's interest be

safeguarded only by a set of conditions imposed on his release. Id.



                                          C. Analysis


       In actuality, the Court must consider four factors to determine whether pretrial

detention is warranted and necessary: (1) the nature and circumstances of the offense

charged, including whether, for example, the offense is a crime of violence; (2) the weight

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of the evidence against the defendant; (3) the history and characteristics of the defendant;

and (4) the nature and seriousness of the danger to any person or the community that

would be posed by the defendant’s release. 18 U.S.C. § 3142(g). The persuasion burden

rests with the government. United States v. Stone, 608 F.3d 939, 945 (6th Cir. 2010). A

judicial officer’s finding of dangerousness must be supported by clear and convincing

evidence. 18 U.S.C. § 3142(f); Stone, 608 F.3d at 945. When “risk of flight” is the basis for

detention, however, the government must only satisfy a preponderance of the evidence

standard. United States v. Xulam, 84 F.3d 441, 442 (D.C. Cir. 1996); United States v.

Chimurenga, 760 F.2d 400, 405-06 (2d Cir. 1985); United States v. Fortna, 769 F.2d 243,

250 (5th Cir.

 1985); United States v. Orta, 760 F.2d 887, 891 (8th Cir. 1985); United States v. Motamedi,

 767 F.2d 1403, 1406 (9th Cir. 1985). An analysis of these four factors weighs heavily in

 favor of Rhodes’s release given the clear and convincing evidence that his release

 presents no danger to the community as well as the preponderance of evidence that he

 poses no serious risk of flight and of obstructing justice.

       Considering Byrd, however, even if this Court were to agree with the Government’s

 position that Rhodes presents a danger to the community, that alone is not enough to

 justify pre-trial detention. The Government has failed to show that any condition or set

 of conditions would prevent Rhodes from appearing in Court.

       The Government claims that he is a flight risk but offers no concrete evidence in

 support thereof. Counsel would argue the contrary; he offers no risk of flight. The

 contention that he knows people across the country as proof that he would flee is

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bordering on ridiculous. He has maintained a residence in the same location for two

years, the last fifty-three weeks of which postdate the events of January 6, 2021, with no

effort to flee or hide. He has met with FBI agents on multiple occasions, knowing that

they were investigating him in relation to the events of January 6, 2021, with no effort to

flee. He has no passport, so he has no ability to leave the country. Photos of him have

been rampant across all forms of media since his arrest making him easily recognizable.

He is also, as discussed with FBI agents Palian and Seyler, on a list that requires an

interview and DHS notification before he is allowed to fly. To suggest he would flee at

this point strains rational thought.     He is currently one of the most recognizable

individuals in America and would be fundamentally impossible to go unnoticed in

society.

      Again, considering Byrd and contrary to Government claims, there is no rational

basis to believe that Rhodes represents a serious risk to obstruct or attempt to obstruct

justice, or threaten, injure or intimidate, or attempt to threaten, injure or intimidate a

prospective witness or juror. Rhodes has been living freely for over a year since the

events of January 6, 2021. He has seen others arrested for crimes related to January 6,

some of whom could indeed serve as witnesses in his own trial. There is absolutely no

evidence that he has threatened, injured or intimidated them, nor is there any rational

basis to believe that he would do so in the future. The Government has attempted to

claim Rhodes has obstructed justice by destroying evidence in the form of electronic

messages, even charging him with that offense, despite the fact that they are well aware

he was under no duty to preserve those specific communications as he had not been

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 charged with an offense that would trigger the preservation of that information. The FBI

 is in possession of his phone, which he voluntarily surrendered to them along with the

 pass codes, and he has met with the FBI at their request. Those are not the actions of

 someone attempting to obstruct justice.      There is also substantial evidence that the

 Government is aware of regarding prior dealings and amicable relations that Rhodes had

 with federal authorities.

       Thus, the issue of dangerousness, a wholly subjective analysis, is the only one for

 this Court to consider, and as Byrd states, the issue of dangerousness on its own is

 insufficient to justify pre-trial detention. Therefore, Rhodes should be released with a

 condition or set of conditions to be determined by this Court.



       I. Rhodes’ Involvement was Not Criminal, Not Extreme and Not Serious

       A grand jury found probable cause to charge Rhodes with initiating and leading a

conspiracy to forcibly oppose the lawful transfer of Presidential power in the United

States. The Government provides in their brief that “it is difficult to imagine conduct that

poses a graver risk to our society than one targeted at undermining the laws and

procedures at the heart of our democratic process - and doing so with force. See United

States v. Munchel, 991 F.3d 1273, 1283 (D.C. Cir. 2021) (‘[T]o order a defendant

preventatively detained, a court must identify an articulable threat posed by the defendant

to an individual or the community. The threat need not be of physical violence and may

extend to ‘non-physical harms such as corrupting a union.’) (citing United States v. King,

849 F.2d 485, 487 n.2 (11th Cir. 1988)).” As stated by Counsel to Mr. Rhodes, it is

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disingenuous on the part of the Government to make such a bold claim when it waited

thirteen months to arrest him, and only then to claim that he is the greatest of risks to our

nation and society. As described in greater detail above and in the indictment, “Rhodes

[allegedly] put forth the plan for a conspiracy; he [allegedly] recruited others to that

conspiracy; he [allegedly] organized and administered planning meetings and chats on

encrypted messaging applications; he [allegedly] offered to reimburse alleged co-

conspirators for expenses they incurred in participating in operations in furtherance of the

conspiracy; and he [allegedly] contributed thousands of dollars of his own firearms and

related equipment to the cause.” The Government would have this Court believe that these

assertions are facts, and therefore argue that because Rhodes was the central leader and

coordinator of this alleged conspiracy, these factors point in favor of detention. Nothing

could be further from the truth.



                   ii. The Weight of Evidence Against Rhodes is Weak


       The Government claims “the weight of the evidence of Rhodes’s dangerousness is

immense and claim his dangerousness is chronicled in his written and recorded

communications; corroborated by his conduct before, during, and after January 6;

buttressed by his obstruction efforts; and reinforced by the indisputable success of his

planning, most alarmingly the gathering of dozens of Oath Keepers in the Washington area

on January 6 to participate in an attack on the Capitol featuring two military-style stacks

and a QRF, which forced a delay of the Certification proceeding.” This is tacitly false.

The Government is wholly aware of the intended security and protective services that the

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Oath Keepers were voluntarily providing to several permitted and legal events that day and

that the QRFs and “stacks” had nothing to do with the delay of the certification process.

       The Government would like this Court to believe that Rhodes’ “electronic

communications show a leader who persistently and methodically readied his [alleged] co-

conspirators to use force and violence to stop the lawful transfer of presidential power.

Casting the struggle for control of the White House in existential terms - from November

2020 through January 2021, Rhodes regularly used the terms ‘civil war’ and ‘revolution’ to

describe the necessary path forward – Rhodes repeatedly emphasized to his [alleged] co-

conspirators that there was no choice but to take up arms to stop the transfer of presidential

power.”

       During this time period, the Government claims that Rhodes “engaged in recruitment,

planning, and coordination to ensure the largest possible presence of Oath Keeper

members and affiliates in Washington, D.C., for the critical moments when he believed his

group would be in a position to implement their plan to forcibly oppose the presidential

transfer, and he ensured that these ground forces would be supported by well-armed QRF

teams who could supply them with firepower when needed.” The Government also claims

“Rhodes offered to reimburse [alleged] co-conspirators for travel and other expenses

related to participating in these operations and that Rhodes personally spent over $22,000

on purchases of firearms and firearms-related equipment in the week leading up to January

6, with many of these purchases being made on his drive from Texas to the Washington,

D.C., area.”

       The Government would have this Court believe that “Rhodes’ ‘plotting’ culminated

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in his [alleged] co-conspirators’ attack on the Capitol on January 6 - but that he and his

[alleged] co-conspirators did not stop there. They continued to plan for and amass

weapons to forcibly oppose the lawful transfer of presidential power. Rhodes supposedly

made an additional $17,000 in firearms and firearms-related purchases in the weeks after

the attack on the Capitol, and he called fellow leaders of this [alleged] conspiracy, like

James, to his side in Texas. As January 20 approached, it is [alleged] Rhodes messaged

others to organize local militias to prepare to forcibly oppose the new administration.”

       The Government claims that “there is overwhelming evidence that Rhodes

organized a plot to oppose by force the execution of the laws of the United States and that

he possesses the willingness and capacity to continue to engage in criminal conduct.” If

the Government’s allegations were true, only pretrial detention can protect the community

from the danger Rhodes poses. However, few of the Government’s allegations are true,

and those that have some semblance of truth are greatly exaggerated and misinterpreted.



                         iii. History and Characteristics of Rhodes


       The Government would have this Court believe that Rhodes’ “history and

characteristics animate the conclusions drawn from the facts above. He has no known

criminal convictions. He is a graduate of Yale Law School and has previously served in the

military. They suggest that those experiences highlight that Rhodes should have and did

know better; they support that his words were deliberate, that his deeds were calculated,

and that his intent was criminal. Rhodes used his legal and military training to lead an

attack on our core democratic traditions. Additionally, they suggest his post-January 6

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statements and conduct suggest he would continue to encourage and coordinate violence,

and that on the night of January 6, Rhodes warned his [alleged] co-conspirators, ‘Patriots

entering their own Capitol to send a message to the traitors is NOTHING compared to

what’s coming.’” What is intriguing is the fact that none of that has happened in the year

since the events of January 6, 2021.

       The Government also suggests that “in the year that has followed, Rhodes has

bolstered his arsenal of weapons and continued to encourage his followers to forcibly

oppose the current presidential administration. The Government claims that there is every

reason to credit Rhodes’s own words and deeds and fear that he has or will plan additional

violence if not detained.” The Government has utterly failed to detail any specific facts or

evidence that Rhodes presents any future danger. The Government is merely attempting to

create the specter of future danger by the manner in which it is framing bombastic

language and otherwise legal activities. If there is any truth to the Government’s current

position, why did they not detain him in January 2021 when others were detained? FBI

Agent Palian testified under oath at Mr. Rhodes initial detention hearing that all of the

“dangerous” allegations in regard to Mr. Rhodes were fully known in January 2021 and

that nothing new has developed, and yet the Government took no action to charge Mr.

Rhodes with any offenses or take him into custody. It is apparent that Rhodes does not

present the danger that the Government claims him to be, otherwise he would have been

taken into custody long before present. It also could be suggested there are ulterior motives

for the Government’s current position.




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           iv. Danger to the Community and Risk of Flight are Non-Existent


       Finally, the Government claims that “Rhodes is a danger to the community because he

[allegedly] organized a conspiracy to opposeby force the lawful transfer of presidential power

and an attack on the United States Capitol in furtherance of this plot. Moreover, the

Government claims Rhodes [allegedly] set in motion his [alleged] co-conspirators’ attack

on the Capitol knowing that an armed QRF stood ready at a moment’s notice to ferry an

arsenal of firearms into the hands of their [alleged] co-conspirators on the ground.” The

Government claims that “while the [alleged] co-conspirators did not need to activate the

QRF that day, the danger posed by this plot shows an extreme disregard for the safety of

the community and the laws of the United States.” Counsel for Mr. Rhodes strongly

disagrees. Mr. Rhodes possesses no passport, so leaving the country is not an option. He

is on a no-fly related list that requires DHS notification and an interview before he is

allowed to fly. In the thirteen months since the events of January 6, 2021, Rhodes has

posed no threat to anyone.      The Government has repeatedly claimed that Rhodes is

somehow a great danger to the public at-large. Yet, he has caused harmed to no one. The

Government is in need of a focal point for the events of January 6, 2021, someone they can

point to and say, “It’s his fault. He is the reason January 6, 2021 occurred”, instead of

realizing that the events from that day were an organic product of thousands of people who

made their own decisions and acted accordingly. The Government cannot show that

Rhodes ordered anyone to act in any particular way, and it knows he does not pose the

threat they claim he is. If he was, he would have been charged and arrested in the days

and weeks after the events of January 6, 2021 as so many others were. In fact, there is an

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absolute lack of any specific directions or orders from Rhodes to engage in the activities

witnessed by our nation on January 6, 2021.

                                       IV. Conclusion

       The Government states that “a grand jury found probable cause to believe that

Rhodes hatched and led a plot to oppose by force the execution of the laws governing the

transfer of presidential power in the United States - including an attack on the Congress

while it reviewed the election results”, however the Grand Jury made this decision without

access to all the evidence that is now available. In addition, if the Government’s Motion in

Support of Detention is any indication of what was presented to the Grand Jury, significant

facts were not presented, and interpretation of other facts stretch the bounds of

believability.

       The Government claims “Rhodes destroyed evidence of his role in these [alleged]

crimes, and in so doing, showed contempt for the laws and Constitution of this country that

make it impossible to trust he would comply with any conditions fashioned by this Court

for his release. For these reasons, the Government insists Rhodes must be detained

pending trial to protect the safety of the community, ensure his return to court, and

safeguard the integrity of evidence and the proceedings.” Nothing could be further from

the truth.

       The Government has no evidence of Rhodes ordering anyone into the Capitol on

January 6, 2021. They have willfully omitted or distorted facts to insist that Rhodes and

the Oath Keepers intended to stop the certification process and/or overthrow the

Government, despite interviews and depositions with the FBI, DOJ and January 6th
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Committee, from Rhodes, other Oath Keepers and even those who are not members of that

group, that frankly state that the belief was that President Trump would invoke the

Insurrection Act. It would only be at that time that the Oath Keepers would ever consider

taking any action whatsoever, and that action would be at the direction of President Trump

and thus a lawful activity per the Insurrection Act. When that did not happen, Rhodes and

others took no action. They left the Capitol grounds and went to dinner.

       If their intent had been as nefarious as the Government is falsely claiming, then

they would have acted when the Capitol was breached, the Capitol police were in disarray,

and the ability to take action would have never been more opportune. However, that did

not occur. The weapons the Government claims were intended for an offensive strike

against the Government never moved. Rhodes did not ask for them to be brought into the

Capitol, despite the fact that at least one person was messaging him with such a request.

When he was alerted to the fact that members of the Oath Keepers were inside the Capitol,

his response was for them to leave.           These actions nullify the Government’s entire

argument that it was Rhodes’ intent and the intent of the Oath Keepers to stop the

certification and/or “overthrow” the Government, and the Government knows it.

       Since the January 6, 2021, the Government has been looking to find the poster child

for the events of that day, the one person it can point to and blame for the actions of

thousands of people who decided to commit some horrendous acts. The problem is that

the Government has chosen the wrong person. Elmer Stewart Rhodes is not guilty of the

charges that have been levied against him; he did not take part in a conspiracy to stop the

election certification and/or overthrow the Government; and he did not conspire with

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others to do so. He did not then, and does not now, present any kind of danger to the

Government, to witnesses, or to the public at-large. He has never previously been charged

with a crime, and there is no rational basis for believing that will in the future. In short,

there is no compelling or legal basis for detention or to believe that no condition or set of

conditions will not reasonably assure the appearance of Rhodes as required. The facts and

the testimony of Rhodes and others proves this, and the Government knows it.




                                                 RESPECTFULLY SUBMITTED,



______________________________                   ___________________________________
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                              CERTIFICATE OF CONFERENCE


               On April 22, 2022, Phillip Linder, counsel for Defendant Elmer Stewart Rhodes

conferred with Assistant United States Attorney, Kathryn Rakoczy, to inform her that Defendant’s

attorneys would be making this filing to the Court, as a supplement to the original, on behalf of our

client and received her assurances that the Government does not oppose this filing.




                                                         _______________________________
                                                         Phillip Linder
                                                         ATTORNEY FOR DEFENDANT




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